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                        IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

BRENDA BROWN,                                  )
                                               )
        Plaintiff,                             )
                                               ) Civil Action No. 16-cv-11152
vs.                                            )
                                               )
KELLY SERVICES, INC.                           ) Judge Marvin E. Aspen
                                               )
        Defendant.                             )




                      PLAINTIFF BROWN’S MEMORANDUM OF LAW
                     IN OPPOSITION TO THE DEFENDANT’S MOTION
                              FOR SUMMARY JUDGMENT




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                                           Introduction

       Pursuant to LR 56.1 (b)(2), the Plaintiff Brenda Brown submits this Memorandum of Law

in Opposition to the Defendant’s Motion for Summary Judgment. As an initial matter, the

Defendant’s Motion must be denied outright as untimely because it was filed without leave of court

substantially more than 30 days following the close of discovery in violation of FED. R. CIV. P.

56(b). While this blatant Rule violation dooms the Defendant’s Motion, the Motion is also

substantively untenable. Without waiving the Defendant’s violation of Rule 56(b), the Plaintiff will

address the substance of the Motion as an alternative basis for its denial.

       The Defendant’s motion rests on the faulty premise that the individual making the decision

to end Brown’s employment was unaware of her discrimination complaint. But a material dispute

exists over the actual identity of that decision-maker. Based on the Defendant’s lies, its shifting

positions, and the close proximity between Brown’s complaint to her manager Lammers and her

termination by Lammers, a jury may infer that Lammers terminated Brown because of that

complaint. Accordingly, summary judgment is improper.

          I. FACTS SUPPORTING THE DENIAL OF SUMMARY JUDGMENT

       A.      Brown’s Background and her Hiring by Defendant

       Brown sought a career in human resources and talent acquisition.[Plf Stmt ¶ 1] After

receiving a bachelor’s degree from DeVry University, she worked for DeVry as a recruiter and

admissions advisor.[Plf Stmt ¶ 1, 2] Although it was a full-time job, paying a salary of $20.91 per

hour, it was unsatisfying to Brown because she did more sales than recruiting.[Plf Stmt ¶ 2]

       While still employed at DeVry, Brown began speaking to Jennifer Lammers in March 2016

about a recruiting career at Kelly Services. Lammers is the branch manager of Kelly Services’

Romeoville and Frankfort offices and needed more recruiters because the year was “crazy”.[Plf Stmt

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¶ 3-4] As Lammers described it, “the job market was very tight and Kelly Services needed more

people brought through the door to fill its accounts.”[Id.] Accordingly, Defendant was hiring

recruiters because it expected continuous growth. It did not base the success of its business around

peaks that come and go.[Plf Stmt ¶ 5]

       Lammers and Brown met to discuss the recruiting position after several telephone

conversations.[Plf Stmt ¶ 6] They discussed Brown’s desire for a career in human resources.

Lammers explained that although the position was not human resources, recruiters have a lot of

human resource responsibilities that can also get Brown to the next level.[Id.]

       Brown informed Lammers she did not want a temporary position with a limited duration but

sought a full time recruiter position at Kelly Services.[Plf Stmt ¶ 7] Lammers explained the job

started as a “temp-to-hire position”, but Brown would eventually be made a full time salaried

employee. Lammers, however, could not give a specific date when that would occur.[Plf Stmt ¶ 8]

       From their discussions, Lammers knew Brown would be leaving her full time job at DeVry

and would also take a pay cut to join Kelly as a recruiter. Because Lammers believed Brown was

very good, she knew she had to get Brown more money than the $14 to $16 per hour they were

paying at that time.[Plf Stmt ¶ 9] Indeed, Brown was the only person Lammers had talked to about

the position and had been waiting for Brown.[Plf Stmt ¶ 10] On May 9, 2016, Lammers made the

ultimate decision to hire Brown at $17 an hour for a 40 hour week.[Def. Stmt. ¶ 6; Plf Stmt. ¶ 9]

       Brown worked as a recruiter out of the Romeoville office but also helped at the Frankfort

office.[Def. Stmt ¶ 6] Lammers believed Brown was a good performer and expressed no criticism

of her work. Similarly, no one complained about Brown’s job performance and she had a good

working relationship with other employees.[Def. Stmt ¶ 13; Plf Stmt ¶ 11] Yet, in the Answer to the

Complaint, Defendant denied Brown performed her job duties in a satisfactory manner to warrant

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continued employment. It now concedes that answer was false.[Plf Stmt ¶ 12]

       B.      Brown’s Complaints about Discrimination

       While working in the Romeoville office, Brown perceived that her fellow recruiter, Spisak,

was engaging in discriminatory conduct regarding the treatment and placement of African-American

job applicants.[Def. Stmt ¶ 25] Brown observed Spisak ignoring African Americans while getting

up to greet and help non-African Americans.[Plf Stmt ¶ 13] Spisak was also observed assisting

applicants with their resume but told some African-Americans to go to the library to make their

resume before they could apply.[Plf Stmt ¶ 14] Plaintiff also noticed that Spisak was rude and nasty

to African-Americans, but not to other job applicants.[Plf Stmt ¶ 15]

       These observations and others prompted Brown to meet with Lammers on June 20,

2016.[Def. Stmt ¶ 24] Although Brown does not recall using the term “race discrimination” in that

meeting, she did mention “race”, “African Americans” and “blacks” to get Lammers to “understand

the issue that she was seeing Spisak do to African-Americans”. Thus, the gist of the conversation

was about discrimination whether or not the actual word was used.[Plf Stmt ¶ 16] Lammers,

however, denies discussing Spisak’s treatment of African-American applicants or that the applicant’s

race was ever mentioned.[Plf Stmt ¶ 17]

       That initial meeting with Brown caused Lammers to call Spisak and Conyers into the meeting

to discuss interviewing and not treating anyone differently.[Def. Stmt ¶ 26; Plf Stmt ¶ 18] At this

meeting with everyone present, Brown specifically used the term “discrimination”.[Plf Stmt ¶ 19]

Spisak admitted that Brown complained about discrimination to management during this

meeting.[Plf Stmt ¶ 20] Lammers, on the other hand, denies Brown complained about

discrimination.[Plf Stmt ¶ 21] According to Lammers, there was nothing said by Brown that gave

her the indication Brown was complaining about discrimination.[Id.]

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       C.      Brown Feels She Is Unwanted at Kelly after Her Complaint of Discrimination

       The same morning after the June 20th meeting, Lammers suggested Brown work at the

Frankfort office 1-2 days a week.[Plf Stmt ¶ 22] Brown stayed in Romeoville through Wednesday,

June 22nd during which time she felt that Spisak was hostile and rude to her.[Plf Stmt ¶ 23] She also

felt that Lammers was no longer as open with her and did not take her to a previously scheduled

client meeting.[Id; Def Stmt ¶ 33] Brown was then sent to the Frankfort office for the next three

business days, from Thursday June 23 to June 27th.[Plf Stmt ¶ 24] These events made Brown feel

she was no longer wanted and was being forced out.[Def. Stmt ¶ 33; Plf Stmt ¶ 25] On Friday, June

24th, Brown wrote Lammers saying she was not going to quit.[Plf Stmt ¶ 26]

       On Monday, June 27th, Brown meet with Lammers at the Frankfort office and complained

about how Spisak was treating her.[Plf Stmt ¶ 28] Lammers responded by asking Brown if she

wanted to give her two-week notice, to which Brown replied no. Brown said she needed the job and

was banking on this to work.[Plf Stmt ¶ 28] The next day, Lammers told Brown her assignment was

terminated, effective three days later on July 1st.[Def. Stmt ¶ 29]

       D.      Defendant’s Conflicting Reasons for Terminating the Temporary Recruiters

       Lammers prefaced the termination conversation saying it had nothing to do with Brown’s

concerns or the previous meeting.[Def Stmt ¶ 30] Instead, she said it was for budgeting reasons.[Def

Stmt ¶ 29] Yet, Spisak said it was for lack of work.[Plf Stmt ¶ 29] Hink, on the other hand,

explained that the in-house recruiters were let go “because of the ebb and flows of our business.” [Plf

Stmt ¶ 31] Hink, however, did not know specifically what the ebb and flow was other than “business

drove the decision.”[Id.] Regardless of the varied reason given, there was plenty of work for Brown

to perform at both the Frankfort and Romeoville offices.[Plf Stmt ¶ 30] But Hink stated that the

decision to let temps go is not made on a branch by branch basis. Rather, it is whether the business

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for the area is growing or declining.[Plf Stmt ¶ 32] Defendant has no documents or communications

supporting any of the reasons for the termination.[Plf Stmt ¶ 32] Nor has the Defendant provided any

consistency as to the identity of the person making the decision to terminate Brown.

       E.      Defendant’s Inconsistences over the Identity of the Decision-Maker

       Defendant disclosed Lammers in its Initial Rule 26a Disclosures but never disclosed either

Hink and Beckner as having knowledge concerning Plaintiff’s employment.[Plf Stmt ¶ 34]

Subsequently, the Defendant’s Interrogatory Answers stated that Hink and Beckner were the

exclusive participants in the decision to end the in-house temporary recruiters, including Brown.[Plf

Stmt ¶ 35] Later, the Defendant served Supplemental Rule 26a Disclosures identifying Hink and

Beckner as having knowledge of Plaintiff’s employment. Hink, however, testified on the last day of

discovery that Al Sower was solely responsible for the termination decision.[Def Stmt ¶ 40, 41;

Docket #31, Minute order dated 4/21/17] Sower was never disclosed in any capacity in the

Defendant’s Initial Rule 26a Disclosures, its Supplemental Rule 26a Disclosures, or its Interrogatory

Answers.[Plf Stmt ¶ 34, 35, 36]

       F. There Was No Workforce Reduction of Temporary Recruiters Except for Brown

       The Defendant claims business needs required that all of the in-house temporary recruiters

had to be cut by July 1, 2016 [Def Stmt ¶ 42], Yet, only Brown was affected. Specifically, the

Defendant identified Jason Dehn and Bryan Ramirez as the only other temporary in-house recruiters

terminated as a result of the workforce reduction.[Plf Stmt ¶ 38] Bryan Ramirez, however, was

terminated on July 25, 2016 for performance reasons.[Def. Stmt ¶ 54] Jason Dehn walked off the

job on July 12, 2016.[Def. Stmt ¶ 53] Consequently, Brown was the only temporary in-house

recruiter terminated on July 1, 2016 or at any other relevant time due an alleged “workforce

reduction”.[Plf Stmt ¶ 38] After Brown’s termination, the Defendant, began re-hiring temporary in-

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house recruiters sometime before November 29, 2016 .[Plf Stmt ¶ 38] Defendant cites no evidence

Brown was offered such a position after her termination.

                                          II. ARGUMENT

        A.      Summary Judgment Standards

       Summary judgment can only be granted “if the movant shows that there is no genuine dispute

as to any material fact and the movant is entitled to judgment as a matter of law.” Fed. R. Civ. P.

56(a). A genuine issue of material fact exists if “the evidence is such that a reasonable jury could

return a verdict for the nonmoving party.”Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 248 (1986).

In ruling on a summary judgment motion, a court may not make credibility determinations, weigh

the evidence, or decide which inferences to draw from the facts. Payne v. Pauley, 337 F.3d 767, 770

(7th Cir. 2003) Rather, “the court has one task and one task only: to decide, based on the evidence

of record, whether there is any material dispute of fact that requires a trial.” Id. See, also, Ortiz v.

Werner Enters., Inc., 834 F.3d 760, 765 (7th Cir. 2016)

       Before addressing the substance of a summary judgment motion, the Court must first

determine whether it was timely under Rule 56(b). If not, then the motion must be denied.

        B.      Defendant’s Motion must Be Denied Because it Is Untimely

        Fed.R.Civ. P. 56(b) sets forth the timing requirements for filing a motion for summary

judgment. It states:

        (b) TIME TO FILE A MOTION. Unless a different time is set by local rule or the court
        orders otherwise, a party may file a motion for summary judgment at any time until 30 days
        after the close of all discovery.

        Neither this Court nor the local rules have set a time for filing a summary judgment motion.

Accordingly, Rule 56(b) required the Defendant to file its motion 30 days after the close of

discovery. Discovery closed on August 1, 2017.[Docket #31] Thus, the Defendant had to August 31,

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2017 to file its motion. It did not. Instead, it filed the motion on September 18, 2017 without leave

of court, without seeking an extension under Rule 6(b), and without even noticing the motion for

hearing as required by LR 5.3 (b).[Docket # 40]

       Stating the obvious, the federal rules of civil procedural are not optional. Peters v. Wal-Mart,

876 F. Supp. 2d 1025, 1029 (N.D. Ind. 2012). This Court has discretion to reject late filings that

violate the Rules and its judgment will only be disturbed when it abuses that discretion. Wienco, Inc.

v. Katahn Associates, 965 F.2d 565, 567-68 (7th Cir. 1992)

       In determining an abuse of discretion, the “excusable neglect” standard applies. Wienco, 965

F.2d at 567-68 The excusable neglect standard, however, can never be met by a showing of inability

or refusal to read and comprehend the plain language of the federal rules. Prizevoits v. Ind. Bell Tel.

Co., 76 F.3d 132, 133 (7th Cir. 1996). Here, the Defendant simply ignored the plain language of the

Rule 56(b) by filing an untimely motion without leave of court. Under these circumstances, the

motion must be denied or stricken.

       Alternatively, this Court must deny the Motion because factual disputes exist precluding

summary judgment. Plaintiff is also entitled to an award of attorneys’ fees as sanctions for having

to respond to an untimely motion. Indeed, in Composite Marine Propellers, Inc. v. Van Der Woude,

962 F.2d 1263, 1268 (7th Cir. 1992), the Seventh Circuit affirmed an award of attorney’s fees as a

sanction for responding to an untimely, but successful, summary judgment motion. Here, the

Defendant’s summary judgment motion does not even have merit.

       C.      A Genuine Issue of Material Fact Precludes Summary Judgment

               1.      The Evidentiary Standards for Establishing Causation

       The parties agree that Brown must prove her retaliation case by showing that 1) she engaged

in protected activity, 2) that she suffered an adverse action and 3) there is a causal connection

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between the protected activity and the adverse action. Baines v. Walgreen Co., 863 F.3d 656, 661

(7th Cir. 2017) The Defendant only disputes causation. [Def. Br. p. 8]

          A plaintiff demonstrates a causal connection by showing that the defendant “would not have

taken the adverse ... action but for [her] protected activity.” Greengrass v. International Monetary

Systems Ltd., 776 F.3d 481, 486 (7th Cir. 2015) A plaintiff may “also supply the causal link through

circumstantial evidence from which a jury may infer intentional discrimination.” Baines, 863 F.3d

at 661. “If a plaintiff can assemble from various scraps of circumstantial evidence enough to allow

the trier of fact to conclude that it is more likely than not that discrimination lay behind the adverse

action, then summary judgment for the defendant is not appropriate.” Baines, 863 F.3d at 661-62,

citing Morgan v. SVT, LLC, 724 F.3d 990, 996 (7th Cir. 2013). Circumstantial evidence may include

(1) suspicious timing; (2) ambiguous statements; (3) evidence that similarly situated employees

out-side of the protected group received better treatment; and (4) evidence that the employer offered

a pretextual reason for an adverse employment action. Monroe v. Indiana DOT, 2017 U.S. App.

LEXIS 17977, *13 (7th Cir. 2017) Particularly persuasive circumstantial evidence is proof that the

employer lied about the reason for an adverse action. This permits a jury to infer the decision was

motivated by retaliatory animus. Reeves v. Sanderson Plumbing Products, Inc., 530 U.S. 133, 147

(2000).

          The Defendant argues that Brown cannot establish her prima facie case because Lammers

allegedly did not make the decision to end her position. Instead, it asserts “there are two layers of

management between the individual who made the decision, Al Sower, and the highest ranking

individual with knowledge of Plaintiff’s complaints, Lammers.” [Def. Br. p. 10] In between were

Beckner and Hink who Defendant now claims simply relayed the directive. The jury, however, can

reject this story because of the Defendant’s inconsistent positions and lies.

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               2.      Defendant’s Inconsistencies Over the Termination
                       Decision Precludes Summary Judgment

       The Defendant has been inconsistent over the identity of person decising to end Brown’s job.

Neither Sower, Beckner nor Hink were disclosed as decision-makers in the Defendant’s Initial Rule

26a Disclosures served six weeks after filing its answer to the Complaint. [Plf Stmt.¶34 And Docket

#8]The omission from its mandatory disclosures of such critical witnesses to the Defendant’s case

creates an inference these witnesses had no information concerning Brown’s termination. See, FED.

R. CIV. P. 37(C)(1)(mandates that if a party fails to identify a witness as required by Rule 26(a), the

party is not allowed to use that witness) In its subsequent Interrogatory Answers, the Defendant

disclosed Beckner and Hink as the only participants in the decision to end Brown’s job. This

interrogatory answer was followed with a Supplemental Rule 26a Disclosure again identifying only

Beckner and Hink as having information for the termination decision. Absent from both the

Interrogatory Answer and the Supplemental Disclosures was Sower.

       It was only during Hink’s deposition taken the last day of discovery did she attribute the

entire termination decision to Sower. Hink, in turn, characterized her and Beckner’s roles as passive

conduits simply relaying the directive to Lammers, not the active decision-makers attested to in the

Interrogatory Answers. Based on these inconsistencies, a reasonable jury could infer that Defendant

is now lying about Sower being the decision-maker since that testimony is refuted by the

Defendant’s Interrogatory Answer identifying only Hink and Beckner as the decision-makers. Since

Hink and Beckner now deny being the active decision makers, the jury can reasonably conclude that

the only person left - Lammers, the same person who made the ultimate decision to hire Brown - also

decided to terminate her because of her complaints. Consequently, the Defendant itself created a

material dispute over the identity of the decision-maker that precludes summary judgment.


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       But the credibility of the Defendant’s story is strained further because there is not a single

document or communication relating the alleged decision to cut all in-house temporary recruiter

positions due to business needs. Nor has Defendant produced any document supporting budgetary,

business and the lack of work reasons relied on for reducing its workforce. The total absence of such

documents casts suspicions over the decision itself. See, e.g..Ledbetter v. Good Samaritan

Ministries, 777 F.3d 955, 958 (7th Cir. 2015)(reversing summary judgment where absence of

documents and inconsistencies create too many loose ends) These unsupported reasons are also

inconsistent with Lammers’ needed to hire Brown just six weeks earlier due to a “crazy” job market.

       Specifically, Brown was hired May 9, 2016 because the market was tight and Defendant

expected continuous growth. Accordingly, Lammers lured Brown away from a full time job to accept

an in-house temporary position with the promise of making her permanent. But within a week of

Brown’s complaint of discrimination and a day after complaining about Spisak’s hostility arising

from that complaint, Brown’s assignment came to an abrupt end on June 28th under the guise of an

alleged “workforce reduction.”

       Hink stated the reason for the workforce reduction was due to the ebb and flow of the

business. This is inconsistent with the earlier decision to hire more recruiters, which was based on

expected growth, not “the peaks that come and go.” Similarly, while Hink stated the decision to end

the temporary in-house recruiters was not based on the needs of each of the branches, but rather on

the growth or decline of business for the area as a whole, only Brown was let go. The two other

temporary recruiters Defendant identified as being laid off for the same reason as Brown were not

even laid off. Dehn walked off the job and Ramirez was terminated for performance weeks after

Brown was terminated. Based on the Defendant’s inconsistencies and shifting positions, a jury can

reject not only the Defendant’s belated attempt to pin the termination decision on Sower, but also

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the very basis for the decision itself.

                3.      The Proximity between Brown’s Complaint
                        and her Termination Satisfies Causation

        The Defendant argues that Brown’s reliance on the proximity between her discrimination

complaint and the termination decision eight days later is insufficient to create a question of material

fact on the issue of causation.[Def. Br. p. 10] The Defendant is wrong.

        The Seventh Circuit has repeatedly held that suspicions timing alone may create a triable

issue on causation. Loudermilk v. Best Pallet Co., LLC, 636 F.3d 312, 315 (7th Cir. 2011). Indeed,

a week generally satisfies the causation nexus. McClendon v. Ind. Sugars, Inc., 108 F.3d 789, 797

(7th Cir. 1997)("[w]e have found the causal nexus sufficiently demonstrated when the time period

between the filing of a complaint and the adverse action was ... one week"); Holland v. Jefferson

Nat'l Life Ins. Co., 883 F.2d 1307, 1312, 1314-15 (7th Cir. 1989) (one week). Brown was told of the

termination six business days after she complained, three of which she was not even in the

Romeoville office and only one day after complaining about Spisak’s hostility.

        Given the sequence of events within such a close temporal proximity, including the 1)

Plaintiff’s complaint on June 20th; 2) her removal to the Frankfort office on June 23rd to June 27th,

3) the failure to take her on an planned client visit; 4) her complaint on June 27th about Spisak’s

hostile conduct; 5) Lammers asking Brown on June 27th if she wanted to resign; and 6) telling Brown

on June 28th that her position was eliminated, create a reasonable inference of causation to establish

a prima facie case. Benuzzi v. Bd. of Educ. of Chi., 647 F.3d 652, 665 (7th Cir. 2011)(“adverse

actions occasionally come so close on the heels of a protected act that an inference of causation is

sensible”) Furthermore, as pointed out in Loudermilk, a jury, not a judge, should decide whether the

inference is appropriate. Loudermilk, 636 F.3d at 315.


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       Defendant cites Mirocha v. Palos Cmty. Hosp., 240 F. Supp. 3d 822 (ND IL 2017) for the

proposition that timing alone is rarely sufficient to create an inference of causation.[Def. Br. P. 10]

Timing, however, did not help the Plaintiff in Mirocha because it was undisputed that the person

recommending termination did not learn of the protected activity until after the termination. Id., 240

F. Supp. 3d at 846. Unlike Mirocha, a material dispute exists over the identity of the decision-maker.

Moreover, it undisputed that Lammers knew of Brown’s protected activity before terminating her.

       Timing alone is, therefore, sufficient to deny Defendant’s Motion for Summary Judgment.

See, Wembi v. Metro Air Service, 195 F. Supp. 3d 957, 972-973 (N.D. Ill. 2016)(Feinerman,

J)(denying summary judgment where adverse action occurred a week after complaint) But Brown’s

case does not rest on timing alone. The jury can also infer a retaliatory animus based on Brown’s

proof the employer lied about her complaint and then sought to cover it up. Baines, 863 F.3d at 665.

               4.      Defendant’s Untruthfulness Creates an Inference
                       of Retaliatory Animus Precluding Summary Judgment

       Brown testified she complained of discrimination at the June 20th meeting. This was

corroborated by Spisak and is undisputed by Defendant (for purposes of the motion). Evidence of

Brown’s complaint cannot be reconciled with Lammers’ testimony that Brown made no such

complaint or said anything from which discrimination could be inferred. Because the Court is

required to accept Brown’s testimony as true on summary judgment, then that also provides evidence

that Lammers lied. See, Baines, 863 F.3d at 665. In reversing summary judgment, the Baines court

explained: “Because a fact-finder may infer intentional discrimination from an employer’s

untruthfulness, evidence that calls truthfulness into question precludes a summary judgment.”

Baines, 863 F.3d at 665 (7th Cir. 2017) See also, Reeves v. Sanderson Plumbing Products, Inc., 530

U.S. 133, 147 (2000) (“[I]t is permissible for the trier of fact to infer the ultimate fact of


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discrimination from the falsity of the employer's explanation.”); Ledbetter v. Good Samaritan

Ministries, 777 F.3d 955 (7th Cir. 2015)(reversing summary judgment where evidence called into

question the employer’s credibility). But the Defendant’s lies and inconsistencies do not stop with

Defendant falsely denying that Brown complained about discrimination. Rather, they taint the

Defendant’s entire case as follows:

       1.      Lammers’ false denial that Brown complained to her on June 27, 2016 about Spisak
               being hostile as a result of Brown’s discrimination complaint again her. Compare Plf
               Stmt ¶ 27 with Plf Stmt ¶ 28.

       2.      Falsely denying in its Answer to the Complaint that Brown performed her job duties
               in a satisfactory manner to warrant continued employment when Lammers’ admitted
               she did. See, Plf Stmt ¶ 11 and 12.

       3.      Claiming that Hink and Beckner were the only people participating in the decision
               to end Brown’s job assignment when Hink testified they had nothing to do with the
               decision but merely relayed the directive to Lammers. Compare Plf Stmt ¶ 35 with
               Def. Stmt ¶ 40.

       4.      Identifying Dehn and Ramirez as having their job assignments terminated for the
               same reason as Brown where the undisputed evidence shows both Dehn and Ramirez
               were terminated weeks after Brown for walking off the job and poor performance,
               respectively. Compare Plf Stmt ¶ 38 with Def Stmt ¶ 52-54.

       The Defendant’s untruthfulness about material issues, coupled with the suspicious timing of

her termination are sufficient “scraps of circumstantial evidence” to allow a jury to find a retaliatory

motive for the adverse action. Accordingly, summary judgment for the Defendant is improper.

Baines, 863 F.3d at 661-62.

               5.      Brown has Established Causation under McDonnell Douglas

       Brown may also rely on the McDonnell Douglas framework as part of the “pile” of the

evidence used to infer intentional discrimination. See Volling v. Kurtz Paramedic Servs., Inc., 840

F.3d 378, 383 (7th Cir. 2016) (noting that McDonnell Douglas is “a common, but not exclusive,

method of establishing a triable issue of intentional discrimination”). Under that framework, Brown

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can establish an inference of retaliation by showing: (1) she is a member of a protected class; (2) she

met her employer’s legitimate job expectations; (3) she suffered an adverse employment action; and

(4) similarly situated employees outside of the protected class received more favorable treatment.

Pearson v. Illinois Bell Telephone Co., No. 15 C 653, 2016 U.S. Dist. LEXIS 175422, at *18-19

(N.D. Ill. Dec. 20, 2016). If the Plaintiff makes her prima facie case, the burden shifts to the

Defendant to give a non-discriminatory reason for the adverse action. If the Defendant meets its

burden, then the Plaintiff must show that the defendant’s explanation was just a pretext. McDonnell

Douglas Corp. v. Green, 411 U.S. 792, 802-804 (1973)

       The Defendant does not dispute Brown’s complaint was protected activity and her

termination was an adverse action. While it initially denied that Brown met its legitimate

expectations, Defendant has since conceded that the denial was false. Finally, Brown has shown she

was treated less favorably than any other similarly situated employees, including Dehn and Ramirez

because only Brown’s assignment was terminated on July 1st and no other employee complained

about discrimination.

       The Defendant, however, argues that Brown cannot establish that the end of her assignment

for budgetary reasons was a pretext for retaliation. But the Defendant offers no evidence supporting

that reasons, other than a vague, conclusory statement of “business necessity”. This reason directly

conflicts with the need to hire Brown six weeks earlier due to growth in the business. Moreover,

Defendant has no documents, no memoranda, no correspondence, no internal analysis or anything

else to show a workforce reduction. Similarly, the only explanation Hink could provide for letting

Brown go was “because business drove that decision. That’s - I don’t have any other answer other

than that” [Plf Stmt ¶ 31] But if business drove the decision to eliminate all of the temporary in-

house recruiters, the decision only applied to Brown. The other individuals Defendant said were

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affected by the decision, Dehn and Ramirez, were each were terminated weeks after Brown and for

entirely different reasons - performance and walking off the job.

        The Defendant suggests in its brief that the circumstances surrounding the termination of

these “other two in-house temporary recruiters do not support a reasonable inference that Plaintiff’s

in-house position ended to retaliate rather than for budgetary reasons.” [Def. Br. P. 13] But the

evidence clearly supports an inference of retaliation, particularly in light of its false Interrogatory

Answer that their assignments were ended for the same reason as Brown’s. While Hink suggests that

Ramirez’s assignment was extended because he was filling an open position, that itself is

inconsistent with her testimony that termination decisions are based on the needs of the entire area,

not on a branch by branch basis. In the end, however, only Brown was let go for these alleged

budgetary reasons. Given the inconsistencies, contradictions and weaknesses in the Defendant’s

stated reason surrounding the termination, a jury could find the reason unworthy of credence, thereby

precluding summary judgment. Boumehdi v. Plastag Holdings, LLC, 489 F.3d 781, 792 (7th Cir.

2007)

                                             Conclusion

        For the foregoing reasons, the Defendant’s motion for summary judgment must be denied,

and the Plaintiff awarded such additional relief that the Court deems proper, including awarding the

Plaintiff her attorneys’ fees as sanctions for responding to an untimely motion.

                                                       Respectfully submitted,

                                                       BRENDA BROWN

                                                       By:/s/ Marshall J. Burt
                                                              Her attorney




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                                CERTIFICATE OF SERVICE

I hereby certify that on October 20, 2017, I electronically filed the foregoing document with the
Clerk of Court using the CM/ECF system which will send notification of this filing to the following
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